Filing Case 1:18-cv-20048-DPG
       # 66010486                Document
                    E-Filed 01/02/2018    1-6 Entered
                                       07:31:33 PM on FLSD Docket 01/05/2018 EXHIBIT
                                                                              Page 1 of 41

                                                                                                 E
                                                           IN THE CIRCUIT COURT OF THE
                                                           ELEVENTH JUDICIAL CIRCUIT IN AND
                                                           FOR MIAMI-DADE COUNTY, FLORIDA

                                                           CASE NO. 2017-028386-CA 44
        SEBASTIAN GONZALEZ,
                                                           CLASS REPRESENTATION (REQUESTED)
               Plaintiff,

        vs.

        TCR SPORTS BROADCASTING HOLDING
        LLP, d/b/a/ Mid-Atlantic Sports Network;
        HYUNDAI MOTOR AMERICA, INC.;
        MERCEDES-BENZ USA, LLC; and JIFFY
        LUBE INTERNATIONAL, INC,

               Defendants.
                                                       /

                                    OBJECTIONS OF
                       TCR SPORTS BROADCASTING HOLDING, LLP, TO
              NOTICE OF TAKING SUBPOENA DUCES TECUM WITHOUT DEPOSITION
                      OF NON-PARTY JPR GENERAL CONTRACT CORP.

               Defendant, TCR Sports Broadcasting Holding, LLP d/b/a Mid-Atlantic Sports Network

        (“MASN”), by the undersigned, its attorneys, objects to the Notice of Taking Subpoena Duces

        Tecum Without Deposition of Non-Party JPR General Contract Corp. (“Notice of Subpoena”),

        and states as follows:

               1.      Pursuant, in part, to Fla. R. Civ. P. 1.100(b) and Fla. R. Civ. P. 1.351(b), MASN

        objects to the Notice of Subpoena. Rule 1.351(b) states:

                       If any party serves an objection to production under this rule
                       within 10 days of service of the notice, the documents or things
                       shall not be produced pending resolution of the objection in
                       accordance with subdivision (d).

               2.      The Notice of Subpoena was served by registered mail on December 19, 2017.

        These objections are timely served and filed, as required by Rule 1.351(b) and Rule 2.514 within

        15 days of service of the Notice of Subpoena. See Fla. R. Civ. P. 1.351(b) (“A party desiring
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   production under this rule shall serve notice as provided in rule 1.080 on every other party of the

   intent to serve a subpoena under this rule at least … 15 days before the subpoena is issued if the

   service is by mail or email …”); Fla. R. Jud. Admin. 2.514(b) (“When a party may or must act

   within a specified time after service and service is made by mail or e-mail, 5 days are added after

   the period that would otherwise expire under subdivision (a).”). 1

          3.      MASN intends to timely remove this action to the United States District Court for

   the Southern District of Florida. The time for doing so has not yet expired, and MASN will

   timely file for removal.

          4.      MASN files these objections before removing only because Fla. R. Civ. P.

   1.351(b) compels MASN to do so. Filing of these objections at this time is mandatory.

          5.      MASN’s objections are set forth below, and all removal rights on any and all

   bases are reserved and none waived.

          6.      On December 11, 2017, plaintiff Sebastian Gonzalez (“Plaintiff”) filed a

   Complaint against MASN, Hyundai Motor America, Inc., Mercedes-Benz USA, LLC, and Jiffy

   Lube International, Inc. None of the defendants has a principal office in Florida.

          7.      Plaintiff alleges violations of the federal Telephone Consumer Protection Act, 47

   U.S.C. §227 (“TCPA”). MASN denies those allegations and did not violate the TCPA.

          8.      Pursuant to Fla. R. Civ. P. 1.280(e), the Court can control the timing of discovery.

   “The need for soundness in the result outweighs the need for speed in reaching it.” Youngstown

   Sheet & Tube Co. v. Sawyer, 343 U.S. 937, 938 (1952) (Burton, J., dissenting).

          9.      MASN, a Maryland entity, accepted service of process in Maryland on December

   20, 2017.

   1
     Rule 2.514 also states: “When the period stated in days is less than 7 days, intermediate
   Saturdays, Sundays, and legal holidays shall be excluded in the computation.”
                                                    2
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            10.    On December 18, 2017, two days before MASN was served, Plaintiff propounded

   eighty-nine document requests to MASN (“Requests”). Exhibit A. The Requests are sweeping

   and overbroad. At the appropriate time, MASN will respond and object.

            11.    Then, on December 19, 2017, one day before MASN was served, Plaintiff’s

   counsel signed and served the Notice of Subpoena. The following day, December 20, 2017,

   approximately an hour after MASN was served, Plaintiff filed the Notice of Subpoena. Exhibit

   B. Plaintiff seeks to compel document production in Miami on January 31, 2018.

            12.    Based on information and belief, defendant Hyundai Motor America, Inc., has not

   yet been served.

            13.    Defendants, all of whom are located outside of Florida, 2 are entitled to sufficient

   time to investigate the claims and prepare a defense before being compelled to attend a non-party

   inspection of records. Plaintiff’s request does not provide sufficient time. MASN objects.

            14.    The header of Plaintiff’s Notice of Subpoena refers to the non-party to be served

   as “JPR General Contract Corp.” MASN has no knowledge of that entity. MASN objects.

            15.    The body of Plaintiff’s Notice of Subpoena refers to Phizzle, Inc. (“Phizzle”).

   Without waiving any objections, MASN will assume that the purported entity to be served with

   the subpoena, if any, is non-party, Phizzle. .

            16.    Phizzle is a Delaware company located in California, where its resident agent is

   also located. A copy of the California Secretary of State’s web page (last visited December 28,

   2017), is attached as Exhibit C, and judicially noticeable. Judicial notice should be taken. 3



   2
       See Complaint, ¶¶3-6.
   3
     “A court may take judicial notice of the following matters, to the extent that they are not
   embraced within s. 90.201: … (5) Official actions of the legislative, executive, and judicial
   departments of the United States and of any state, territory, or jurisdiction of the United States.”
                                                    3
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          17.     The Notice of Subpoena directs Phizzle to designate one or more representatives

   “to appear” [emphasis added] in Miami, Florida, on January 31, 2018, and to produce documents

   “at that time and place.”

          18.     Fla. R. Civ. P. 1.351(c) states: “The subpoena shall require production only in the

   county of the residence of the custodian or other person in possession of the documents or things

   or in the county where the documents or things are located or where the custodian or person in

   possession usually conducts business.” Phizzle does not reside in Florida. Nor is its data located

   in Florida. Plaintiff cannot compel a California entity to “appear” or to produce documents in

   Florida. MASN objects. 4

          19.     Rule 1.351(b) states that the proposed subpoena “shall state that the person who

   will be asked to produce the documents or things has the right to object to the production under

   this rule and that the person will not be required to surrender the documents or things.”

   [emphasis added]. The proposed subpoena does not so state. Instead, it improperly states:

                  “You have the right to object to the production pursuant to this
                  subpoena at any time before production by giving written notice to
                  the attorney whose name appears on this subpoena….. If you fail


   Fla. Stat. Ann. § 90.202. The 1976 Law Revision Council note states that “if a party requests
   that judicial notice be taken and satisfies the requirements of Section 90.203, then judicial notice
   of these matters is mandatory.” Section 9.203 requires timely written notice of the request, filed
   with the court and sufficient information to enable the Court to take judicial notice. This
   objection is timely written notice to the adverse party and provides sufficient information.
   Further, the 1976 Law Revision Council Note states: “This section is not intended to be a
   limitation on the court's discretionary power to take judicial notice of matters listed in § 90.202
   when it feels such notice is appropriate. Therefore, if a party requests judicial notice of a matter
   and fails to give the requisite notice to adverse parties or sufficient information to the court, the
   court may judicially notice the matter despite the failure to satisfy the requirements of this
   section.” If, however, the Court is not inclined to do so, notice is requested pursuant to §90.205.
   4
     The Notice of Subpoena states that, “[i]n lieu of an appearance, documents may be produced by
   overnight mail” in Miami. Given that the documents requested include Phizzle’s entire database,
   that is unlikely at a minimum. Further, at this juncture, not knowing what Phizzle may or may
   not choose to do, MASN must assume that inspection of the subpoena seeks to compel Phizzle to
   “to appear” [emphasis added] in Miami, Florida.
                                                    4
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                   to appear or bring the documents listed on Schedule A, you may be
                   in contempt of Court. You are subpoenaed to appear by the
                   following attorney, and unless excused from this subpoena by this
                   attorney or the court, you must respond to this subpoena as
                   directed.” [emphasis added].

   MASN objects.

           20.     Further, there is insufficient time to make necessary arrangements.       Plaintiff

   cannot serve a Florida subpoena on Phizzle absent compliance with the California Interstate and

   International Depositions and Discovery Act, Cal. Civ. Proc. Code § 2029.100. 5 It is highly

   unlikely that could be accomplished before the date unilaterally set by Plaintiff for an inspection

   of records on January 31, 2018. Out of an abundance of caution, MASN objects that Plaintiff

   has provided insufficient time for inspection of records from a California witness in Miami.

           21.     Phizzle may be required to appear and produce records only in California. If

   Phizzle is properly served with a valid subpoena designating a valid location, MASN needs

   sufficient time and notice to appear in California for inspection of records. MASN objects to the

   lack of sufficient notice.

           22.     Plaintiff demands production of confidential information of MASN and non-

   parties, including the cellular telephone numbers of tens of thousands of consumers.

           23.     No confidentiality order has been entered, and there has been insufficient time for

   MASN or Phizzle to seek a protective order. MASN had no knowledge of Plaintiff’s claim prior

   to being served. MASN had no notice that Plaintiff wished to demand records from Phizzle until

   service of the Notice of Subpoena.

           24.     Phizzle and MASN have a contract under which Phizzle performs services for

   MASN (“Contract”). Those services include maintaining certain MASN data and transmittal of


   5
    “Service of a subpoena on a person named within must be made as provided by law.” Fla. R.
   Civ. P. 1.410(d).
                                                    5
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   text messages to subscribers to MASN’s mobile alert messaging service.

            25.   Essentially, the mobile alert messaging service is a text message program. A

   “Subscriber” 6 sends an opt-in “short code” message by text to “29292.” The message contains a

   prescribed keyword, such as “Orioles” or “Nationals.”           Phizzle receives the message and

   generates a “bounce back” message that informs the subscriber of terms and conditions and other

   matters, tells him or her how to obtain “help,” and provides “STOP” directions to terminate the

   messaging service. It also informs the Subscriber of the maximum number of messages that will

   be sent, e.g., 12 per month. The Subscriber’s cellular phone number is placed on an opt-in list

   and text messages are then sent to the phone. For example, a message might inform a subscriber

   that a particular player hit a home run in a specific inning.

            26.   Plaintiff’s proposed subpoena would invade the privacy rights of tens of

   thousands of consumers by disclosure of their cellular telephone numbers and information,

   without any Fla. R. Civ. P. 1.280(c)(7) protective or confidentiality order.

            27.   Pursuant to the Contract, Phizzle holds MASN’s confidential information,

   including tens of thousands of consumer telephone numbers. Plaintiff demands production of all

   of that information, without notice to the consumers and without a confidentiality or protective

   order.

            28.   The Contract defines, as “Subscriber Data,” requests from customers for

   messages, and their contact and preference information.          Under Contract ¶3(b) and ¶6(a),

   Subscriber Data is owned by MASN and stored on Phizzle’s computer system.

            29.   All of that information is expressly confidential and a trade secret. The Contract

   states that:

   6
     The Contract defines a “Subscriber” as an individual who opts to receive messages from the
   system. Contract, ¶1.
                                                     6
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                  “Each party acknowledges that it or its Representatives may, in the
                  course of performing its or its responsibilities or exercising its
                  rights hereunder, be exposed to or acquire information which is
                  proprietary to or confidential to the other party, its affiliated
                  companies or third parties to whom such other party has a duty of
                  confidentiality. Any and all non-public information obtained by
                  such party (or its Representatives), including any trade secrets,
                  processes, proprietary data, and other technical or business
                  information or documentation of such other party shall be deemed
                  to be confidential and proprietary information (‘Confidential
                  Information’. In addition to the foregoing, Confidential
                  Information includes the terms of this Agreement and any other
                  information designated in writing as confidential. For the
                  avoidance of doubt, in addition to the foregoing, Subscriber Data
                  and the content of any Transmission(s) shall be deemed
                  Confidential Information hereunder, and Phizzle will ensure that
                  access to such Subscriber Data and Transmission content is not
                  provided to anyone, including employees of Phizzle and its
                  affiliates, unless such person (x) has a need to know in order for
                  Phizzle to effectively perform its obligations hereunder and (y) has
                  been advised of the restrictions set forth herein on the use and
                  disclosure of such Subscriber Data and Transmission content.”

   Contract, ¶13(a).

          30.     Further, in the Contract, ¶13(b): “Each party agrees (i) to hold Confidential

   Information of the other in strict confidence; (ii) not to disclose such Confidential Information to

   third parties or to use such Confidential Information for any purpose other than as contemplated

   by, and authorized under, this Agreement; and (iii) to advise each of its Representatives who

   may be exposed to such information to keep such Confidential Information confidential (it being

   understood that each of such Representatives shall be bound by a duty of confidentiality….”

          31.     The Contract is governed by the laws of New York, without regard to the conflict-

   of-laws rules thereof. Contract, ¶14. Under New York law:

                  a. “A ‘trade secret’ is generally defined as a … compilation of information used

                       in one’s business that confers a competitive advantage over those in similar

                       businesses who do not know it or use it.” 104 N.Y. Jur. 2d Trade Regulation


                                                    7
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                      § 251. 7

                  b. “A witness who objects to disclosure on the ground that the requested

                      information constitutes a trade secret bears only a minimal initial burden of

                      demonstrating the existence of a trade secret….”          Ferolito v. Arizona

                      Beverages USA, LLC, 119 A.D.3d 642, 644, 990 N.Y.S.2d 218, 220 (2014).

                  c. “[A] party seeking disclosure of trade secrets must show that such information

                      is indispensable to the ascertainment of truth and cannot be acquired in any

                      other way….” Id. (internal quotations and citation omitted).   .

          32.     Because Plaintiff wrongfully demands that Phizzle produce MASN’s confidential

   and proprietary information without a protective or confidentiality order, MASN objects.

          33.     Plaintiff’s discovery requests go beyond the scope of discovery. MASN objects.

          34.     Discovery is limited to the subject-matter of the action.          Fla. R. Civ. P.

   1.280(b)(1) states: “Parties may obtain discovery regarding any matter, not privileged, that is

   relevant to the subject matter of the pending action, whether it relates to the claim or defense of

   the party seeking discovery or the claim or defense of any other party….”

          35.     Plaintiff’s discovery requests are not limited to matters that are relevant to the

   subject matter of this action.




   7
     “Six factors are to be considered in determining whether a trade secret exists: (1) the extent to
   which the information is known outside the business; (2) the extent to which it is known by a
   business’ employees and others involved in the business; (3) the extent of measures taken by a
   business to guard the secrecy of the information; (4) the value of the information to a business
   and to its competitors; (5) the amount of effort or money expended by a business in developing
   the information; and (6) the ease or difficulty with which the information could be properly
   acquired or duplicated by others.” 104 N.Y. Jur. 2d Trade Regulation § 251. Each of those
   factors supports the conclusion that MASN’s list of Subscribers – maintained confidentiality on
   Phizzle’s platform – is a trade secret.
                                                   8
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                  a. Plaintiff’s discovery requests “cover[] the time period January 1, 2014

                     through the present….” Exhibit B, Schedule A, Definition ¶11.

                  b. Plaintiff did not opt in to the MASN mobile alert messaging service until

                     August 2017, Compl., ¶33, and he opted out long before the “present.”

                  c. Discovery of events that pre-date the claim by more than three years is not

                     relevant to the subject matter of the action. Discovery of events that post-date

                     the claim is not relevant. MASN objects to all requests such as these that go

                     beyond the subject matter of the action.

          36.     Plaintiff’s discovery requests define document “to be synonymous in meaning and

   equal in scope to the term ‘items’ in Federal Rule of Civil Procedure 34.” Exhibit B, Schedule

   A, Definition ¶12 (emphasis added). The definition that follows is a veritable word slaw that is

   unintelligible. MASN objects. “Document” is more properly defined by Fla. R. Civ. P. 1.350(a)

   as incorporated by Rule 1.351(a).

          37.     Plaintiff’s Instruction 1 demands that “[e]ach document requested shall be

   produced in its entirety.”   Exhibit B, Schedule A, Instruction 1.        Yet, Plaintiff requests

   production of Phizzle’s entire database.    Request No. 12.     Instruction 1 is overbroad and

   improper.    It requests not only information relating to MASN, but data as to every other

   customer of Phizzle. Further, the request for production of a database “in its entirety” is vague

   and ambiguous.

          38.     Plaintiff’s discovery requests define “communication” to include oral

   communications and telephone conversations. Exhibit B, Schedule A, Definition ¶13.

   Nevertheless, Plaintiff requests production of communications. That is beyond the scope of a

   Request for Production of Documents and Things Without Deposition. Fla. R. Civ. P. 1.351.



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   MASN objects. 8

          39.    A few, out of many, examples of improper and overly broad requests follow.

                 a. “The entire database of electronically stored information maintained by you

                     with respect to the universe of Messages and Recipients.” Request No. 12.

                 b. “All written agreements between you and MASN that refer, reflect, ore [sic]

                     relate to marketing, including but not limited to text message marketing.”

                     Request No. 13.

                 c. “All    documents    and    communications      including   electronically-stored

                     information (in native format) maintained by you or any agent, affiliate,

                     contractor or third-party vendor that refers or relates to any processes you use

                     to ensure the efficient dissemination of messages.” Request No. 24.

          40.    Plaintiff also improperly seeks to impose a duty on Phizzle to make a legal

   determination of what may be “potentially relevant.” Plaintiff requests: “Any and all other

   documents, communications, or information potentially relevant to the claims alleged in the

   Complaint in this action that have not otherwise been requested herein.” Request No. 28. It is

   not proper for Plaintiff to demand that Phizzle, a non-party, determine what may be “relevant.”

   Phizzle – a non-party and non-lawyer – should not be required to retain counsel and make

   relevancy determinations.

          41.    The Rules and decisions cited herein constitute a memorandum of points and

   authorities. MASN reserves the right to amplify and supplement these points and authorities on

   any further proceeding on these objections.         If there is any further proceeding on these



   8
    “A party may seek inspection and copying of any documents or things within the scope of rule
   1.350(a)….” Fla. R. Civ. P. 1.351(a). Fla. R. Civ. P. 1.350(a) does not authorize production of
   oral communications and telephone conversations such as those requested by Plaintiff.
                                                  10
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   objections, MASN requests a hearing at a mutually convenient time for the parties and the Court.

          Wherefore, defendant, TCR Sports Broadcasting Holding, LLP d/b/a Mid-Atlantic Sports

   Network, objects to the Notice of Taking Subpoena Duces Tecum Without Deposition of Non-

   Party JPR General Contract Corp. [sic].

                                                      Respectfully Submitted,

                                                      /s/ Michael D. Berman
                                                      Michael D. Berman
                                                      RIFKIN WEINER LIVINGSTON LLC
                                                      2002 Clipper Park Road, Suite 108
                                                      Baltimore, MD 21211
                                                      mberman@rwllaw.com
                                                      Telephone: (410) 206-5049
                                                      Facsimile: (410) 769-8811
                                                      Motion for Admission Pro Hac Vice Pending

                                                      GUNSTER
                                                      600 Brickell Avenue, Suite 3500
                                                      Miami, Florida 33131
                                                      Telephone: 305-376-6000
                                                      Facsimile: 305-376-6010
                                                      acortinas@gunster.com

                                                      By: /s/ Angel A. Cortiñas
                                                             Angel A. Cortiñas: FBN: 797529
                                                             Jonathan H Kaskel, FBN: 52718

                                                      Counsel for TCR Sports Broadcasting
                                                         Holding LLP

                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on January 2, 2018, copies of the foregoing were served on
   the following as well as CBL44@jud11.flcourts.org:
   Frank Hedin, Esquire                             Amy L. Brown, Esquire
   David P. Milian, Esquire                         SQUIRE PATTON BOGGS
   Ruben Conitzer, Esquire                          amy.brown@squirepb.com
   CAREY RODRIGUEZ MILLIAN GONYA LLP                Counsel for Mercedes-Benz USA, LLC
   fhedin@careyrodriguez.com
   dmilian@careyrodriguez.com
   rconitzer@careyrodriguez.com
   Counsel for Plaintiff


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                                         A




   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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   Exhibit A
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                                               EXHIBIT
                                                   B
              IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                      IN AND FOR MIAMI-DADE COUNTY, FLORIDA


        SEBASTIAN GONZALEZ,
                                                           Case No. 2017-028386-CA-01
        Plaintiff,
                                                           (JURY TRIAL DEMANDED)
        v.
                                                          (CLASS REPRESENTATION)
        TCR    SPORTS     BROADCASTING
        HOLDING LLP, d/b/a/ Mid-Atlantic
        Sports Network; HYUNDAI MOTOR
        AMERICA, INC.; MERCEDES-BENZ
        USA,   LLC;   and  JIFFY  LUBE
        INTERNATIONAL, INC,

        Defendants.



                 NOTICE OF TAKING SUBPOENA DUCES TECUM WITHOUT
               DEPOSITION OF NON-PARTY JPR GENERAL CONTRACT CORP.

        To: All counsel of record.

                          YOU ARE HEREBY NOTIFIED that after fifteen (15) days from the

        date of this notice, subject to the rights of any party, the undersigned will issue the

        attached Subpoena Duces Tecum Without Deposition, pursuant to Fla. R. Civ. P.

        1.351(c) upon PHIZZLE, INC.

                    Plaintiff reserves the right to use any information produced pursuant to

        the subpoena for discovery, for use at trial, or for such other purposes as may

        be permitted under the Florida Rules of Civil Procedure, the Florida Rules of

        Evidence or other applicable law.




        Exhibit B
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                                      For the Court:

   December 19, 2017                  By: /s/ Frank S. Hedin
                                      CAREY RODRIGUEZ
                                      MILIAN GONYA, LLP
                                      David P. Milian
                                      Florida Bar No. 844421
                                      dmilian@careyrodriguez.com
                                      Frank S. Hedin
                                      Florida Bar No. 109698
                                      fhedin@careyrodriguez.com
                                      Ruben Conitzer
                                      Florida Bar No. 100907
                                      rconitzer@careyrodriguez.com
                                      1395 Brickell Avenue, Suite 700
                                      Miami, Florida 33131
                                      Telephone: (305) 372-7474
                                      Facsimile: (305) 372-7475
                                      Attorneys for Plaintiff




                                         2
   Exhibit B
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                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY THAT a true and correct copy of the foregoing
   document was served on this 19th day of December 2017, via Registered Mail to all
   parties in this action at the following addresses:

   Hyundai Motor America, Inc.
   Attn: National Registered Agents, Inc.
   818 W. 7th Street, Suite 930
   Los Angeles, CA 90017

   Jiffy Lube International, Inc.
   Attn: The Corporation Trust Company
   Corporation Trust Center
   1209 Orange Street
   Wilmington, DE 19801

   Mercedes-Benz USA, LLC
   Attn: The Corporation Trust Company
   Corporation Trust Center
   1209 Orange Street
   Wilmington, DE 19801

   TCR Sports Broadcsating Holding, LLP
   Attn: Peter G. Angelos
   100 North Charles Street, 22nd Floor
   Baltimore, MD 21202



                                   By: /s/ Frank S. Hedin
                                   Frank S. Hedin, Esq.




                                            3
   Exhibit B
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                            EXHIBIT A



                                         4
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                 IN AND FOR MIAMI-DADE COUNTY, FLORIDA


   SEBASTIAN GONZALEZ,
                                                    Case No. 2017-028386-CA-01
   Plaintiff,
                                                    (JURY TRIAL DEMANDED)
   v.
                                                   (CLASS REPRESENTATION)
   TCR    SPORTS     BROADCASTING
   HOLDING LLP, d/b/a/ Mid-Atlantic
   Sports Network; HYUNDAI MOTOR
   AMERICA, INC.; MERCEDES-BENZ
   USA,   LLC;   and  JIFFY  LUBE
   INTERNATIONAL, INC,

   Defendants.


                         SUBPOENA DUCES TECUM WITHOUT
                       DEPOSITION OF NON-PARTY PHIZZLE, INC.

   THE STATE OF FLORIDA:
   TO:
                                    Phizzle, Inc.
                                    Attn: Ben Davis, Its registered agent
                                    58 Second Street, Third Floor
                                    San Francisco, CA 94105

               YOU ARE HEREBY COMMANDED to designate one or more representatives

   of Phizzle, Inc., with knowledge of the matters described in Schedule A hereto to

   appear at the law offices of Carey Rodriguez Milian Gonya, LLP at 1395

   Brickell Avenue, Suite 700 in Miami, Florida, on January 31, 2018 at 9:30

   A.M., and to have with you at that time and place all the documents and things set

   forth on Schedule A hereto. In lieu of an appearance, documents may be produced




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   by overnight mail to the attention of Ruben Conitzer, Esq. at the offices of Carey

   Rodriguez Milian Gonya, LLP at 1395 Brickell Avenue in Miami, FL 33131.

               The items will be inspected and copied at that time. You will not be required

   to surrender the original items. You may comply with this subpoena by providing

   legible copies of the items to be produced to the attorney whose name appears on or

   before the scheduled date of production. You may condition the preparation of the

   copies upon the payment in advance of the reasonable cost of preparation. You may

   mail or deliver the copies to the attorney whose name appears on this subpoena and

   thereby eliminate your appearance at the time and place specified above. You have

   the right to object to the production pursuant to this subpoena at any time before

   production by giving written notice to the attorney whose name appears on this

   subpoena.

               If you fail to appear or bring the documents listed on Schedule A, you may be

   in contempt of Court. You are subpoenaed to appear by the following attorney, and

   unless excused from this subpoena by this attorney or the court, you must respond

   to this subpoena as directed.




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                                               For the Court:

    Dated: January ___, 2017                    By: /s/ Frank S. Hedin
                                               CAREY RODRIGUEZ
                                               MILIAN GONYA, LLP
                                               David P. Milian
                                               Florida Bar No. 844421
                                               dmilian@careyrodriguez.com
                                               Frank S. Hedin
                                               Florida Bar No. 109698
                                               fhedin@careyrodriguez.com
                                               Ruben Conitzer
                                               Florida Bar No. 100907
                                               rconitzer@careyrodriguez.com
                                               1395 Brickell Avenue, Suite 700
                                               Miami, Florida 33131
                                               Telephone: (305) 372-7474
                                               Facsimile: (305) 372-7475
                                               Attorneys for Plaintiff



      If you are a person with a disability who needs any accommodation in order to respond to this
      subpoena, you may request such assistance by contacting Ruben Conitzer, Esq. at CAREY
      RODRIGUEZ MILIAN GONYA, LLP, 1395 Brickell Avenue, Suite 700, Miami, Florida
      33131, 305-372-7474, within 2 working days of your receipt of this subpoena; if you are
      hearing or voice impaired, call 711.




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                                         SCHEDULE “A”


                                          DEFINITIONS

         1. “You”, “your”, or “Phizzle” refers to Phizzle, Inc. and all of its affiliates,
   subsidiaries, predecessor and successor entities, together with all of their officers,
   agents, employees, directors, representatives, successors and assigns.

         2. “Gonzalez” means Sebastian Gonzalez, the named plaintiff in this action,
   who is a subscriber of

         3. “MASN” means TCR Sports Broadcasting Holding LLP d/b/a Mid-Atlantic
   Sports Network.

         4. “Hyundai” means Hyundai Motor America, Inc. and all of its affiliates,
   subsidiaries, predecessor and successor entities, together with all of their officers,
   agents, employees, directors, representatives, successors and assigns.

         5. “Mercedes” means Mercedes-Benz USA, LLC and all of its affiliates,
   subsidiaries, predecessor and successor entities, together with all of their officers,
   agents, employees, directors, representatives, successors and assigns.

         6. “Jiffy Lube” means Jiffy Lube International, Inc. and all of its affiliates,
   subsidiaries, predecessor and successor entities, together with all of their officers,
   agents, employees, directors, representatives, successors and assigns.

               7. “Seller Defendants” means collectively Hyundai, Mercedes, and Jiffy
   Lube.

       8. “Message” or “messages” means a text message sent by or on behalf of
   MASN that contains any reference to any of the Seller Defendants.

               9. “Recipient” means all persons who received a message.

         10. “TCPA” means the Telephone Consumer Protection Act, 47 U.S.C. § 227
   and the regulations issued thereunder.

           11. Unless otherwise specified, this Request for Production covers the time
   period January 1, 2014 through the present, includes all agreements that are still in
   effect during this period even if executed before that time, and is for all documents
   in your possession, custody or control, or in the possession, custody or control of any
   of your agents, servants, employees, representatives, consultants, accountants,
   attorneys, and/or wholly owned or controlled subsidiaries, joint ventures or
   affiliates, or subject to your and/or the person’s mentioned above custody and/or
   control wherever located.




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          12. As used in this request, the term “document” is defined to be
   synonymous in meaning and equal in scope to the term “items” in Federal Rule of
   Civil Procedure 34. The term “document” is intended to be comprehensive and to
   include, without limitation, all original writings of any nature whatsoever, copies
   and drafts which, by reason of notes, changes, initials, or identification marks are
   not identical to the original and all non-identical original copies thereof. In all cases
   where original or non-original copies are not available, “document” also means
   identical copies of original documents and copies of non-identical copies. The term
   thus includes, but is not limited to, any kind of written or graphic matter, however
   provided or reproduced, of any kind or description, whether sent or received or
   neither, including but not limited to papers, books, book entries, correspondence,
   telegrams, cables, telex messages, memorandum, notes, data, notations, work
   papers, inter-office communications, transcripts, minutes, reports and recordings of
   telephone or other conversations, or of interviews, or of conferences, or of committee
   meetings, or of other meetings, affidavits, statements, summaries, opinions, reports,
   studies, analyses, formulae, plans, specifications, evaluations, contracts, licenses,
   agreements, offers, ledgers, journals, books of records of account, summaries of
   accounts, bills, service invoices, receipts, balance sheets, income statements,
   questionnaires, answers to questionnaires, statistical records, desk calendars,
   appointment books, diaries, lists, tabulations, charts, graphs, maps, surveys, sound
   recordings, computer tapes, magnetic tapes, computer printouts, data processing
   input and output, e-mails, SMS text messages, MMS text messages, any other type
   of text messages, instant messages, microfilms, all other records kept by electronic,
   photographic, or mechanical means, and things similar to any of the foregoing,
   however, denominated, whether currently in existence or already destroyed. A
   draft or non-identical copy is a separate document within the meaning of this
   term.

          13. The term “communication” refers to any and all exchanges of
   information between or among two or more persons by any medium, including
   without limitation, meetings, telephone conversations, correspondence, memoranda,
   circulars, contracts, agreements, computer, radio, telegraph, email, instant
   message, SMS text messages, MMS text messages, any other type of text messages,
   verbal, or any other actions intended to convey or actually conveying information or
   data.

                                     INSTRUCTIONS

           1.     Each document requested shall be produced in its entirety. If any part
   of a document is responsive to any of the following requests, the entire document
   should be produced. If a document responsive to any request cannot be produced in
   full, it shall be produced to the extent possible with an explanation stating why
   production of the remainder is not possible.




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          2.    These requests are continuing in character so as to require you to
   supplement the responses within a reasonable time if you obtain or becomes aware
   of any further information responsive to these requests for documents.

         3.     With respect to any document or thing being withheld from production
   on the basis of the attorney-client privilege, work product immunity, or otherwise
   you must:

               a) identify the nature of the privilege which is being claimed and the rule of
               law under which the privilege is being asserted; and,
               b) provide the following information:
                   (i) the type of document (e.g. letter, memorandum etc.);
                   (ii) the subject matter of the document;
                   (iii) the date of the document;
                   (iv) the present location and identity of the document’s custodian; and,
                   (v) the author, addressee, and all recipients of copies of the document.

                           DOCUMENTS AND ITEMS REQUESTED

               1.    All documents and communications between you and MASN.

               2.    All documents and communications between you and any of the Seller

   Defendants that relate to Messages or MASN.

               3.    All documents and communications that refer to, reflect or relate to

   MASN.

               4.    All documents and communications that refer to, reflect or relate to the

   use of the short code 29292 to deliver Messages on behalf of MASN or any of the

   Seller Defendants.

               5.    All outgoing and incoming Message log files, in their original native

   format, pertaining to Messages delivered and / or received by MASN or any of the

   Seller Defendants or by you on your behalf of MASN or any of the Seller

   Defendants.




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               6.    All documents and communications that refer to, reflect, or relate to

   text message marketing conducted on behalf of MASN, including but not limited to

   all documents and communications regarding Messages, the Recipients, and the

   Seller Defendants.

               7.    All documents and communications that reflect the identities of, and

   contact information for, the Recipients.

               8.    The phone numbers for all Recipients.

               9.    All documents and communications to or from Recipients.

               10.   All documents and communications that refer to, reflect, or relate to

   Recipients.

               11.   All documents and communications that refer to, reflect or relate to

   Messages.

               12.   The entire database of electronically stored information maintained by

   you with respect to the universe of Messages and Recipients.

               13.   All written agreements between you and MASN that refer, reflect, ore

   relate to marketing, including but not limited to text message marketing.

               14.   Copies of each version of any terms and conditions or privacy policies

   authored or issued by you pertaining to the delivery of Messages, regardless of the

   date of any such document or communication.

               15.   All documents and communications that refer to, reflect or relate to

   Gonzalez.




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               16.   All documents and communications that refer to, reflect or relate to

   telephone number (786) 458-5841 (“Gonzalez’s Number”) or any other of Gonzalez’s

   personal identifying information.

               17.   All documents and communications that refer to, reflect, or relate to

   any prior express written consent (as defined by 47 U.S.C. § 227(b)(1)(A)) you may

   contend would have authorized you to send telephone solicitations to Gonzalez’s

   Number.

               18.   All documents and communications that refer to, reflect, or relate to

   any prior express consent (as defined by 47 C.F.R. § 64.1200(f)(8)) you may contend

   would have authorized you to initiate, or cause to be initiated, any telephone call

   that includes or introduces an advertisement (as defined by 47 C.F.R. §

   64.1200(f)(1)) or constitutes telemarketing (as defined by 47 C.F.R. § 64.1200(f)(12)),

   using an automatic dialer system (“ATDS”) to Gonzalez’s Number.

               19.   All documents and communications that refer to, reflect, or relate to

   guidelines and policies and procedures (and training employees and representatives

   to comply) with the TCPA.

               20.   All documents and communications, including electronically-stored

   information (in native format) maintained by you or any agent, affiliate, contractor

   or third-party vendor that refers or relate to your use of an ATDS on behalf of

   MASN or any of the Seller Defendants.

               21.   All documents and communications, including electronically-stored

   information (in native format) maintained by you or any agent, affiliate, contractor




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   or third-party vendor that refers or relate to your ability to dial telephone numbers

   without human intervention.

               22.   All documents and communications, including electronically-stored

   information (in native format) maintained by you or any agent, affiliate, contractor

   or third-party vendor that refers or relate to your ability to dial telephone numbers

   in random or sequential order.

               23.   All documents and communications, including electronically-stored

   information (in native format) maintained by you or any agent, affiliate, contractor

   or third-party vendor that refers or relate to your ability to dial telephone numbers

   in random or sequential order without human intervention.

               24.   All documents and communications including electronically-stored

   information (in native format) maintained by you or any agent, affiliate, contractor

   or third-party vendor that refers or relates to any processes you use to ensure the

   efficient dissemination of messages.

               25.   All documents and communications by and between you and Michael

   Haley.

               26.   All documents and communications by and between you and Jim

   Cuddihy.

               27.   All documents and communications that refer to, reflect or relate to

   Jim Cuddihy’s statement that “Phizzle’s mobile marketing tool offers fans of the

   Baltimore Orioles and Washington Nationals the opportunity to connect with the

   teams in a one-on-one pioneering way.”




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               28.   Any and all other documents, communications, or information

   potentially relevant to the claims alleged in the Complaint in this action that have

   not otherwise been requested herein.




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                                                                             EXHIBIT
                              Alex Padilla
                                         C
                              California Secretary of State


              
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          Business Entities                             
Business Search - Entity Detail
                       (BE)

      Online Services                           The California Business Search is updated daily and reflects work processed through
                                                Wednesday, December 27, 2017.
Please refer to document Processing Times
for the received
         File LLC Statement of
                                                dates of filings currently being processed. The data provided is not a complete or certified
record
         Information
                                                of an entity. Not all images are available online.
         File Corporation Statement
         of Information
                                                C3258757   
PHIZZLE, INC

         Business Search                        Registration Date:                    11/05/2009
                                                Jurisdiction:                         DELAWARE
         Current Processing Dates
                                                Entity Type:                          FOREIGN STOCK
         Disclosure Search                      Status:                               ACTIVE
                                                Agent for Service of                  BEN DAVIS
      Service Options                           Process:                              58 SECOND STREET, THIRD FLOOR
                                                                                      SAN FRANCISCO CA 94105
      Name Availability
                                                Entity Address:                       58 SECOND STREET, THIRD FLOOR
                                                                                      SAN FRANCISCO CA 94105
      Forms, Samples & Fees
                                                Entity Mailing Address:               58 SECOND STREET, THIRD FLOOR
      Statements of Information                                                       SAN FRANCISCO CA 94105
      (annual/biennial reports)
                                                A Statement of Information is due EVERY year beginning five months before and through the end
      Filing Tips                               of November.

      Information Requests
      (certificates, copies & status             Document Type                                  File Date                   PDF
      reports)
                                                 SI-NO CHANGE                                        02/22/2016                03258757-20393990
      Service of Process

      FAQs                                       SI-COMPLETE                                         02/07/2013                03258757-15959050




      Contact Information
                                                 REGISTRATION                                        11/05/2009                03258757-5817550


      Resources

         Business Resources                     * Indicates the information is not contained in the California Secretary of State's database.
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https://businesssearch.sos.ca.gov/CBS/Detail[12/28/2017 2:14:45 PM]
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         Tax Information                                 If the status of the corporation is "Surrender," the agent for service
of process is
                                                         automatically revoked. Please refer to California Corporations Code section 2114 for
         Starting A Business                             information relating
to service upon corporations that have surrendered.
         Checklist
                                                         For information on checking
or reserving a name, refer to Name Availability.
                                                         If the image is not available online, for information on ordering a copy refer to Information
      FTB Nonprofit Dissolution
                                                         Requests.
         FTB Administrative                              For information on ordering certificates, status reports, certified copies of documents and
         Dissolution/Surrender                           copies of documents not currently available in the Business Search or to request a more
         Notice                                          extensive search for records, refer to Information Requests.
                                                         For help with searching an entity name, refer to Search Tips.
         FTB Abatement                                   For descriptions of the various fields and status types, refer to Frequently Asked
                                                         Questions.
      Customer Alerts

         Business Identity Theft                   Modify Search             
   New Search   
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         Misleading Business
         Solicitations



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